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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JEROME MILLER, JR.,                             :
           Plaintiff,                            :         CIVIL ACTION
                                                 :         No. 21-2308
                v.                               :
                                                 :
 SAWA TRANSPORTATION INC.,                       :
 et al.,
          Defendants.                            :

                                            ORDER

       AND NOW, this 27th day of September, 2021, it is ORDERED that Defendants’ motion

to transfer venue (ECF No. 11) is GRANTED and the case is TRANSFERRED to the United

States District Court for the Northern District of Georgia pursuant to 28 U.S.C. § 1406(a).




                                                     _s/ANITA B. BRODY, J._____
                                                     ANITA B. BRODY, J.




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